                                          UNITED STATES DISTRICT COURT
                                             DISTRICT OF MARYLAND
                                                          OFFICE OF THE CLERK
                                                                                                                Catherine M. Stavlas, Clerk of Court
                                                                                                               Elizabeth B. Snowden, Chief Deputy
Reply to Northern Division Address                                                                            David E. Ciambruschini, Chief Deputy


                                                              December 14, 2021
        Baltimore City Circuit Court
        Courthouse East‐Civil Division
        111 N Calvert St
        Baltimore, MD 21202

                  RE:        Liverpool v. Caesars Baltimore Management
                             Civil Action No. JKB 21-cv-0510
                             24-C-20003829

        Dear Clerk:

                On December 14, 2021, the Honorable James K. Bredar signed an order remanding the
        above-entitled case to your Court. Enclosed is a certified copy of the order, together with a
        certified copy of the docket entries. We have discontinued our previous practice of sending the
        state court original papers which were filed in this Court. Should you need certified copies of
        any papers you may contact the Deputy Clerk below.

                  Kindly acknowledge receipt of the enclosed on the duplicate copy of this letter.

                  Thank you for your cooperation in this matter.

                                                                                Sincerely,

                                                                                Catherine M. Stavlas, Clerk

                                                                      By:                    /s/
                                                                                B. Ames, Deputy Clerk

        Enclosures

        ACKNOWLEDGED RECEIPT THIS ______ DAY OF _____ 20__.
        Remand Letter to Court (Rev. 9/4/2001)




         Northern Division • 4228 U.S. Courthouse • 101 W. Lombard Street • Baltimore, Maryland 21201• 410-962-2600
         Southern Division • 200 U.S. Courthouse • 6500 Cherrywood Lane • Greenbelt, Maryland 20770 • 301-344-0660

                                            Visit the U.S. District Court’s Website at www.mdd.uscourts.gov
